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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 MELISSA RIVERA AND RICARDO                                         CIVIL ACTION
 SILVA, SR.
 VERSUS                                                             NO: 18-14005
 JENNIFER ROBINSON, ET AL                                           SECTION: "S" (4)


                                     ORDER AND REASONS

       IT IS HEREBY ORDERED that defendants' Motion in Limine (Rec. Doc. 115) is

GRANTED in part and DENIED in part.

                                          BACKGROUND

       Detailed facts regarding this case have been set forth in prior orders of the court, and thus

are not restated here. For purposes of this motion, it is sufficient to note that a previous order of

the court struck plaintiff's allegations regarding defendant Jennifer Robinson's failure to use a

seatbelt, and the use of a sun shade on the driver's left window, finding that those facts were not

relevant to any issues for trial. See Rec. Doc. 26. With respect to the sun shade, the court found

that because the collision occurred after the vehicles were approaching one another head on, and

Robinson turned left into her driveway causing Silva to collide with the rear right side of her

automobile, visibility related to Robinson's left window was irrelevant.

       Subsequently, it has been established through deposition testimony that Robinson is

vision impaired in her left eye, and that since the crash, she has been required to have driving

restrictions related to her vision on her driver's license. Plaintiffs contend that this new
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information regarding Robinson's vision impairment makes the presence of the sun shade on the

left driver's side window relevant to their claim that Robinson was distracted at the time of the

crash.

          In the instant motion in limine, defendants seek a ruling excluding all evidence and

allegations regarding Robinson's failure to wear a seatbelt, and her use of a sun shade on the

driver's side window. Defendants contend that because the related allegations were stricken from

the complaint, they are immaterial and impertinent and not relevant to the plaintiffs' negligence

claims.

          Plaintiffs do not oppose the exclusion of evidence and allegations regarding the failure to

wear a seatbelt, but argue that at the time of the collision, Robinson was attempting to turn left in

to her narrow driveway, and that her visual impairment and the sun shade on the left side, while

she was focused on a tight left-hand turn, contributed to her distraction from the oncoming

motorcycle, and played a role in causing the accident. Therefore, plaintiffs contend that the

presence of the sun shade is relevant to Robinson's negligence.

                                            DISCUSSION

          Rule 402 of the Federal Rules of Evidence provides that “[a]ll relevant evidence is

admissible, except as otherwise provided by the Constitution of the United States, by Act of

Congress, by these rules, or by other rules prescribed by the Supreme Court pursuant to statutory

authority.” Relevant evidence is “evidence having any tendency to make the existence of any

fact that is of consequence to the determination of the action more probable or less probable than

it would be without the evidence.” FED. R. EVID. 401.


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       In the present case, plaintiffs have alleged that Robinson was distracted at the time of the

crash. Amended Cmplt., Rec. Doc. 27. In support of this allegation, they theorize that one source

of her distraction was the fact that at the time of the collision, she was attempting to make a left

hand turn into a narrow driveway, shifting her focus away from oncoming traffic. The presence

of the sun shade in her left window, coupled with her vision impairment, is relevant to the

question whether Robinson was distracted and that her distraction contributed to the collision,

which is a fact issue reserved to the jury. Accordingly,

       IT IS HEREBY ORDERED that defendants' Motion in Limine (Rec. Doc. 115) is

GRANTED in part and DENIED in part. Evidence regarding Robinson's failure to wear a

seatbelt is excluded. Evidence regarding the presence of the sun shade is deemed admissible.

                                     14th day of February, 2020.
       New Orleans, Louisiana, this _____



                           ____________________________________
                                MARY ANN VIAL LEMMON
                            UNITED STATES DISTRICT JUDGE




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